                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                              Plaintiff,        )
                                                )
               v.                               )    No. 13-04048-01-CR-C-BCW
                                                )
JOSE GUADALUPE MACIAS-YANEZ,                    )
                                                )
                              Defendant.        )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

Pursuant to the Report and Recommendation of United States Magistrate Judge Matt J. Whitworth,
to which no objection has been filed, the plea of guilty to Count One of the Indictment filed on
October 2, 2013 is now accepted.     Defendant is adjudged guilty of such offense. Sentencing
will be set by subsequent order of the court.

                                                      /s/ Brian C. Wimes
                                                     JUDGE BRIAN C. WIMES
                                                     UNITED STATES DISTRICT COURT

Dated: April 9, 2015




       Case 2:13-cr-04048-BCW              Document 63    Filed 04/09/15      Page 1 of 1
